         Case 1:14-cv-14176-ADB Document 575 Filed 10/03/18 Page 1 of 5



                               UNITED STATES DISTRICT COURT
                                DISTRICT OF MASSACHUSETTS

    STUDENTS FOR FAIR ADMISSIONS,                     *
                                                      *
                 Plaintiff,                           *
                                                      *
                 v.                                   *
                                                      *         Civil Action No. 14-cv-14176-ADB
    PRESIDENT AND FELLOWS OF                          *
    HARVARD COLLEGE                                   *
                                                      *
                 Defendant.                           *
                                                      *

     MEMORANDUM AND ORDER REGARDING MOTIONS TO PARTICIPATE IN
             TRIAL PROCEEDINGS FILED BY AMICI CURIAE

BURROUGHS, D.J.

        Presently before the Court are two motions filed by groups of amici curiae seeking to

participate at the trial scheduled to begin on October 15, 2018. [ECF Nos. 518, 532]. First,

Students1 request permission to make opening and closing statements, offer declarant testimony

from eight witnesses, and cross-examine SFFA’s expert witness, Professor Arcidiacono. [ECF

No. 518 at 9]. Second, a group of “25 Harvard student and alumni organizations comprised of

thousands of Asian Americans, Black, Latinx, Native American, and white Harvard students,

alumni . . . , faculty, and alumni interviewers” (“Organizations”) has requested leave to present

six witnesses for 45 minutes each and to present opening and closing statements. [ECF No. 532

at 1, 7]. For the reasons set forth below, the Court will permit these two amici curiae groups to

participate at trial within the limitations set forth herein.




1
 Students is a group of prospective, current, and former Harvard students who claim to
“represent a broad cross-section of ethno-racial groups, identifying as Asian-American, Black,
Latino, Native American, and Pacific Islander.” [ECF No. 518 at 3].
         Case 1:14-cv-14176-ADB Document 575 Filed 10/03/18 Page 2 of 5



I.     BACKGROUND

       The participation of amici curiae in this case dates back more than three years to the

Court’s denial of a motion to intervene that was filed by Students, who then were a group of nine

perspective and five then-current Harvard students. [ECF No. 52]. Although the Court denied

Students’ motion to intervene, it granted Students leave to participate as amici curiae. Id. at 2.

The Court allowed Students to submit briefing, participate in oral arguments on dispositive

motions, and submit declarations or affidavits in support of their memoranda. Id. The Court

stated that “[s]hould this case proceed to trial, amici curiae may file a motion to participate in the

proceedings, and the Court will consider the appropriate scope of participation at that time.” Id.

at 23. The Court subsequently also granted Organizations leave to participate as amici curiae

with the same status as students. [ECF Nos. 465, 516].

       President and Fellows of Harvard College (“Harvard”) supports Students and

Organizations’ requests to present testimony at trial, but takes no position on the number of

witnesses that Students and Organizations should be permitted to call or whether opening and

closing arguments from the amici groups should be allowed, and opposes Students’ request to

cross-examine Professor Arcidiacono. [ECF No. 541]. Students for Fair Admissions (“SFFA”)

opposed Students and Organizations’ requests to participate at trial. [ECF No. 543].

II.    DISCUSSION

       The Federal Rules of Civil Procedure do not contain provisions concerning amici

appearances, but a district court has “inherent authority” to appoint amici to assist it in a

proceeding. Portland Pipe Line Corp. v. City of S. Portland, No. 2:15-CV-00054-JAW, 2017

WL 79948, at *4 (D. Me. Jan. 9, 2017) (quoting Animal Prot. Inst. v. Martin, 06-cv-128-B-W,

2007 U.S. Dist. LEXIS 13378, at *6, 2007 WL 647567 (D. Me. Feb. 23, 2007)); see also Borges




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         Case 1:14-cv-14176-ADB Document 575 Filed 10/03/18 Page 3 of 5



v. Our Lady of the Sea Corp., 935 F.2d 436, 442 (1st Cir. 1991) (“A trial judge has wide latitude

to regulate the conduct of trial.”). The First Circuit has noted that “by the nature of things an

amicus is not normally impartial[,]” and “an amicus who argues facts should rarely be

welcomed.” Strasser v. Doorley, 432 F.2d 567, 569 (1st Cir. 1970). “Only a named party or an

intervening real party in interest is entitled to litigate on the merits,” and a district court should

usually stop short of vesting amici with the “equal litigating rights of a named party/real party in

interest, thereby subverting the right of the [parties] to effectively control the future course of the

proceedings.” United States v. State of Mich., 940 F.2d 143, 166 (6th Cir. 1991). Nevertheless,

providing amici “a limited right to call and cross-examine witnesses” is appropriate in some

circumstances. State v. Dir., U.S. Fish & Wildlife Serv., 262 F.3d 13, 14 (1st Cir. 2001). To the

extent that witnesses are permitted to testify, “[d]istrict courts may impose reasonable time limits

on the presentation of evidence.” Borges, 935 F.2d at 442 (citing Johnson v. Ashby, 808 F.2d

676, 678 (8th Cir.1987)).

        In considering Students and Organizations’ motions to participate at trial, the Court is

mindful of two considerations: (1) whether the participation will assist the Court or otherwise

advance justice, and (2) whether the participation will prejudice any party or subvert the parties’

control of the future of this litigation.2

        Both amicus groups offer to present testimony from individuals with valuable

perspectives that will otherwise be absent from the trial record. [ECF No. 518 at 4–8, No. 532 at

4–6]. SFFA provides a litany of reasons to doubt that the testimony will be probative of the

alleged discrimination at issue. [ECF No. 543 at 3]. To the extent that amici might seek to



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  The Court also believes that permitting lawyers to gain trial experience is valuable. Given the
length of this case and the extent of amici participation, the Court considers this interest in
crafting its limitations on amici participation.

                                                   3
           Case 1:14-cv-14176-ADB Document 575 Filed 10/03/18 Page 4 of 5



present testimony that is not probative as to the claims before the Court, the Court will be free to

disallow or disregard the testimony. While the Court concludes that the limited presentation of

testimony from some of the individuals proffered by amici will likely advance the interests of

justice by providing a valuable perspective, it does not find that it would be helpful to have amici

cross-examine Professor Arcidiacono.

          There is no reason to believe that the limited presentation of arguments and direct

testimony will prejudice any party or subvert the parties’ control of the litigation. Although

SFFA notes Harvard did not identify students in its Rule 26 disclosures, SFFA has not claimed

that allowing testimony or opening statements from amici would adversely affect its ability to

make its case, nor is there any indication that SFFA has relied on the absence of students from

the Rule 26 disclosures in a way that would make allowing student or alumni testimony at trial

unfair.

III.      CONCLUSION

          Accordingly, the Court orders as follows:

          1.     Students and Organizations may each submit a written opening statement.

Alternatively, the opening statement may be delivered in court, provided that it is (a) less than 15

minutes in length, and (b) delivered by an attorney with 5 or less years of experience.

          2.     Students and Organizations may also submit a written closing statement. The

Court is reserving on whether it will allow these closings to be delivered orally. If oral

presentations are allowed, they must be (a) less than 15 minutes in length, and (b) delivered by

an attorney with 5 or less years of experience.

          3.     Students will not be allowed to cross-examine Professor Arcidiacono.




                                                   4
         Case 1:14-cv-14176-ADB Document 575 Filed 10/03/18 Page 5 of 5



       4.      Students and Organizations may each present the testimony of up to 4 witnesses

from among the individuals identified in their motions, either as a written submission or through

oral examination. Direct examination of each witness will be limited to 30 minutes. The Court

requests that these direct examinations be handled by an associate with 5 or less years of

experience. Either side may cross the amici witnesses.

       5.      Students and Organizations shall meet and confer with the parties regarding the

scheduling of their participation. By October 12, 2018, Students and Organizations shall file

with the Court the names of any witnesses whose testimony they intend to offer.

       6.      By October 12, 2018, Students and Organizations shall serve Harvard and SFFA

with any and all exhibits they intend to offer. See [ECF No. 518 at 8 n.1].

       SO ORDERED.

October 3, 2018                                              /s/ Allison D. Burroughs
                                                             ALLISON D. BURROUGHS
                                                             U.S. DISTRICT JUDGE




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